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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISON

____________________________________
In Re:                               §
                                     §               Chapter 11
                                     §
GASTAR EXPLORATION, INC., ET AL.,    §               Case No. 18-36057
                                     §
       Debtors.                      §               Jointly Administered
___________________________________ §

 OBJECTION OF HARRIS COUNTY TO DEBTORS’ EMERGENCY MOTION
  FOR ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING THE
    DEBTORS TO OBTAIN POSTPETITION SECURED FINANCING, (II)
GRANTING LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
EXPENSE CLAIMS, (III) AUTHORIZING THE USE OF CASH COLLATERAL,
    (IV) GRANTING ADEQUATE PROTECTION, (V) MODIFYING THE
   AUTOMATIC STAY, (VI) SCHEDULING A FINAL HEARING, AND (VII)
                   GRANTING RELATED RELIEF
                        (Ref. Docket No. 33, 76)

To the Honorable Marvin Isgur,
United States Bankruptcy Judge:

       NOW COMES, Harris County and the entities for which it collects (“Harris

County”), and files this objection to Emergency Motion for Entry of Interim and Final

Orders (I) Authorizing the Debtors to Obtain Postpetition Secured Financing, (II)

Granting Liens and Providing Superpriority Administrative Expense Claims, (III)

Authorizing the Use of Cash Collateral, (IV) Granting Adequate Protection, (V)

Modifying the Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting

Related Relief (the “Motion”), and respectfully represents:

       1.      Harris County has a filed prepetition secured proof of claim herein for ad

valorem property taxes assessed against Gastar Exploration, Inc., et al. (“Debtors”) for

property taxes for tax year 2018 in the estimated amount of $24,270.39.



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       2.      Harris County is a fully secured ad valorem tax creditor of Debtors,

holding prior perfected liens against property of the Estate. Harris County’s claim is

secured by first priority liens pursuant to the Texas Tax Code § 32.01, et seq.

       3.      Section 32.01 provides:

               (a) On January 1 of each year, a tax lien attaches to
               property to secure the payment of all taxes, penalties, and
               interest ultimately imposed for the year on the property,
               whether or not the taxes are imposed in the year the lien
               attaches. The lien exists in favor of each taxing unit
               having power to tax the property.

               (b) A tax lien on inventory, furniture, equipment and
               other personal property is a lien in solido and attaches to
               inventory, furniture, equipment, and other personal
               property that the property owner owns on January 1 of the
               year the lien attaches or that the property owner
               subsequently acquires.

               (d) The lien under this section is perfected on attachment
               and…perfection requires no further action by the taxing
               unit.

TEX TAX CODE ANN § 32.01(a)-(b), (d) (Vernon 2001).

       4.      Further, pursuant to section 32.05 (b) of the Texas Property Tax Code,

Harris County’s liens are superior to the claims of creditors of the property’s owners and

to claims of persons holding liens on the property. Section 32.05(b) provides that:

               [A] tax lien provided by this chapter takes priority over
               the claims of any creditor of a person whose property is
               encumbered by the lien and over the claim of any holder
               of a lien on property encumbered by the tax lien, whether
               or not the debt or lien existed before the attachment of the
               tax lien.

TEX. PROP. TAX CODE § 32.05(b); See also Central Appraisal District of Taylor County

v. Dixie-Rose Jewels, Inc., 894 S.W.2d 841 (Tex. App. – Eastland 1995, no writ) (bank’s

foreclosure of its purchase money lien on personal property did not defeat or destroy the



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taxing unit’s statutory tax lien). The tax lien is also unavoidable. See In re: Winns, 177

B.R. 253 (Bankr. W.D. Tex. 1995).

       6.        Harris County objects to the Motion to the extent that it purports to prime

the superior lien position of Harris County. Harris County would require that entry of the

order be conditioned upon the inclusion of language that provides that the ad valorem tax

liens will not be primed by nor made subordinate to any liens granted to any party under

the DIP Order.

       7.        Further, paragraph 10(d)(i) of the Interim Order provides that all proceeds

of the DIP Collateral shall be applied to the DIP Obligations. To the extent that any

personal property that is subject to Harris County’s liens is sold, such proceeds constitute

the cash collateral of Harris County. Absent an established ad valorem tax reserve,

Harris County objects to the use of its cash collateral.

       WHEREFORE, PREMISES CONSIDERED, Harris County requests the Court

deny the Motion unless and until all issues raised herein are resolved, and grant Harris

County such other and further relief, at law or in equity, as is just.




                             [Concluded on the following page]




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  Dated: November 20, 2018



                                     Respectfully submitted,

                                     LINEBARGER GOGGAN
                                     BLAIR & SAMPSON, LLP

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                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing
was served upon the entities listed below by either electronic court filing or by placing
same, in the United States mail, first class, postage fully prepaid on November 20, 2018:

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Trent Determann,

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                                                   /s/ Tara L. Grundemeier
                                                   Tara L. Grundemeier



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